    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


CLEAN LABEL PROJECT FOUNDATION,)
                              )
          Plaintiff,          )
                              )
v.                            )         Case No. 1:20-cv-03229-RC
                              )
GARDEN OF LIFE LLC,           )
                              )
          Defendant.          )
                              )
                              )


 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S

MOTION FOR RECONSIDERATION OF THE ORDER OF DISMISSAL, OR IN THE

           ALTERNATIVE, REMAND TO D.C. SUPERIOR COURT
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                                       INTRODUCTION

       COMES NOW the Plaintiff Clean Label Project Foundation, by and through counsel, and

moves this Court to reconsider its September 23, 2021 Order [ECF 14] granting Defendant’s

Motion to Dismiss, or in the alternative, remand to D.C. Superior Court pursuant to Fed. R. Civ.

P. 59(e), 60 & 28 U.S. Code § 1447(c) (lack of subject matter jurisdiction). On September 2,

2021, the District of Columbia Court of Appeals decided the case Animal Legal Def. Fund. v.

Hormel Foods Corp., No. 19-CV-0397, 2021 D.C. App. LEXIS 254 (D.C. Sept. 2, 2021) which

constituted intervening change in controlling law concerning the District of Columbia Consumer

Protection Procedures Act (“D.C. CPPA”), warranting this Court’s reconsideration. See Animal

Legal Def. Fund. at *2-17; D.C. Code § 28-3901 et seq. Further, Defendant’s Motion to Dismiss

[ECF 7] and Reply [ECF 11] misstated the facts of Plaintiff’s claim and misapplied legal

standards concerning the proper standing for both a nonprofit testing organization and a public

interest organization to sue under the D.C. CPPA that led to errors of law and facts in the

September 23, 2021 Order.

       Plaintiff respectfully requests the Court to reconsider its Order of Dismissal and either

deny the Defendant’s Motion to Dismiss, or grant the Plaintiff a remand to D.C. Superior Court,

and as grounds therefore state:


                                        BACKGROUND

       On August 25, 2020, Clean Label Project Foundation (“Plaintiff”) filed a complaint

against Garden of Life, LLC (“Defendant”). Plaintiff’s complaint against Garden of Life alleged

that Garden of Life had deceived D.C. consumers with their advertising practices by adulterating

their prenatal vitamins to include heavy metals, pesticides, and BPA, with some contaminants

ranking as one of highest in concentration per serving when compared to competitors in the same
category.1 Plaintiff engaged an independent, ISO 17025 accredited analytical chemistry

laboratory to test the Defendant’s prenatal vitamin products targeting pregnant women and

unborn babies and found that seven (7) of the Defendant’s Products2 contained toxic heavy

metals, BPA, and pesticides, contrary to their marketing claims that constituted a misleading

advertising campaign of clean, healthy, non-artificial, nourishing nutrition in its Products that

support the pregnant mother, the fetal brain, and other fetal developments superior to other

competing brands. Some of the explicit advertising touted: “Nutritional Support for Mom &

Baby”, “Prenatal- Clean Nourishment for You & Your Baby Before, During & After

Pregnancy”, “Energy & Nutrition Healthy Fetal Development”, “Clean is Healthy”, “Say YES to

Clean Vitamins”, “You care about what you put into your body when it comes to choosing food-

shouldn’t that apply to your supplements, too? All Garden of Life vitamins are made from real,

whole foods with nutrients that your body is able to easily recognize”, “What to Look for: You

definitely want to know ‘where’ your vitamins are coming from - look for whole food

ingredients that are clean and Non-GMO verified. You definitely don’t want synthetic

ingredients, binders, fillers, or artificial anything”, “Helps Support Brain, Eyes and Nervous

System in Developing Babies . . . Enhances the Quality of Breast Milk”, “nutrition support for

Moms & babies”, and “Well, while the other guys spend their time preoccupied with their

efficiency, we’re uncompromising about your health. Slow it down, make it by hand, grow it in



1
  See Exhibit 1, Compl. ¶¶ 100-111 (showing test results of lead, cadmium, and mercury in two of Defendant’s test
products to be 88.1% to 96% higher per serving than two hundred other prenatal vitamin products tested by CLP).
The copy of the Complaint included in the Notice of Removal before this Court contains illegible pictures of the
products and advertising materials from the Defendant’s website. Plaintiff herewith provide a copy of the original
Complaint that includes legible pictures of the Defendant’s false advertising claims at issue as Exhibit 1.
2
  Defendant’s Products in question are: (1) Garden of Life Vitamin Code Raw Prenatal (180 ct); (2) Garden of Life
MyKind Organics Prenatal Multi - Certified Organic Whole Food (90 ct); (3) Garden of Life Dr. Formulated
Probiotics - Once Daily Prenatal (30 ct); (4) Garden of Life Oceans Mom Prenatal DHA (30 ct); (5) Garden of Life
MyKind Organics Prenatal Once Daily (30 ct); (6) Garden of Life MyKind Organics - Prenatal Once Daily (90 ct);
(7) Garden of Life MyKind Organics Prenatal (30 ct).
rich organic non-GMO soil with enough sun, air, water and time for it to be its best.”, “Garden of

life offers clean, whole food, prenatal multivitamins with the proper amounts of nutrients for

moms and their babies. Our Dr. Formulated Prenatal Probiotics are specifically formulated with

clinically studied probiotic strains shown to support the immune systems of mom, her developing

baby and her infant.” See Exhibit 1, Compl. ¶¶8, 21, 88-90, 92-94 (including specific marketing

claims made on the product packaging, on the Garden of Life website, and on retailers’ websites

in promotion of Garden of Life’s vitamin products). Defendant’s false and misleading

representations and omissions violated the District of Columbia Consumer Protection Procedures

Act (“D.C. CPPA”), D.C. Code § 28-3901 et seq., Plaintiff alleged Defendant’s labelling and

advertising tended to mislead and be materially deceptive about the true nature, quality, and

ingredients of the Products. Defendant’s violations induce pregnant women to purchase the

Products and unknowingly ingest lead, cadmium, mercury, BPA, and pesticides. Plaintiff

brought this deceptive advertising cause on behalf of itself and the general public as both a non-

profit testing organization and a public interest organization. See D.C. Code § 28-3905(k)(1)(C),

(k)(1)(D) and (k)(2).


                                      LEGAL STANDARD

       Plaintiff respectfully requests the Court to reconsider its Order granting Defendant’s

Motion to Dismiss. Fed. R. Civ. P. 59(e) permits a party to seek reconsideration of a final

judgment within 28 days once that judgment has been made by the Court. Fed. R. Civ. P. 59(e).

The four basic grounds for Rule 59(e) motion are manifest errors of law or fact, newly

discovered or previously unavailable evidence, prevention of manifest injustice, and intervening

change in controlling law. Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996). Fed. R.

Civ. P. 60 permits a party to seek reconsideration of a final judgment either (a) to correct a
mistake arising from an oversight or omission or (b) to seek relief from a judgment or order due

to: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered evidence; (3)

fraud, misrepresentation, or other misconduct; (4) void judgment; (5) satisfied, released, or

discharged judgment; or (6) “any other reason justifying relief from the operation of the

judgment.” Fed. R. Civ. P. 60(a), (b); see also Gates v. Syrian Arab Republic, 646 F.Supp. 2d

79, 83 (D.D.C. 2009).

        On September 2, 2021, the District of Columbia Court of Appeals decided the case

Animal Legal Def. Fund. v. Hormel Foods Corp., No. 19-CV-0397, 2021 D.C. App. LEXIS 254

(D.C. Sept. 2, 2021), which specifically addressed the standing requirement under the D.C.

CPPA. See Animal Legal Def. Fund. at *2-17.3 As this decision preceded this Court’s

September 23, 2021 Order by three (3) weeks, and issued nine (9) months after the Plaintiff had

filed its Opposition to the Defendant’s Motion to Dismiss on December 14, 2020 and after the

surreply period had long passed, neither the parties nor this Court addressed this crucial,

controlling intervening law prior to this Court’s grant of motion to dismiss in this matter.

Plaintiff did not become aware of Animal Legal Def. Fund. until after the Court’s September 23,

2021 Order and requests this Court to reconsider its order of dismissal under new controlling

intervening law and manifest injustice and error of law and facts. See Fed. R. Civ. P. 59(e) & 60;

see also, Animal Legal Def. Fund. at *2-17.


                                                 ANALYSIS

        Plaintiff respectfully requests the Court to reconsider its Order regarding Defendant’s

Motion to Dismiss, as Plaintiff’s standing is protected by the D.C. CPPA, specifically D.C. Code



3
 See Exhibit 2, Complaint, Animal Legal Def. Fund. v. Hormel Corp., (D.C. Super. Ct. filed Aug. 2, 2016) (No. 19-
CV-0397).
§ 28-3905(k)(1)(D) in light of the recent Animal Legal Def. Fund. decision in the D.C. Court of

Appeals. See Animal Legal Def. Fund. at *2-17. If this Court decides to not exercise subject

matter jurisdiction over this matter, Plaintiff requests that this matter be remanded so as not to

deprive the Plaintiff of its statutory remedy under the D.C. CPPA.4

         As there is no federal question alleged nor is there diversity in this case as the amount in

controversy is insufficient, Plaintiff requests that if this Court decides not to exercise subject

matter jurisdiction over this case even in light of the Animal Legal Def. Fund. decision that

supports CLP’s constitutional standing, that this case be remanded to D.C. Superior Court, where

the precedents demonstrate that the Plaintiff CLP has standing as both a non-profit testing

organization and as a public interest organization, and is entitled to statutory redress within the

D.C. Superior Court, as it has found previously in other, similar D.C. CPPA cases. See Animal

Legal Def. Fund. at *2-17; see also, Clean Label Project Found. v. Nutraceutical Corp., No.

2020 CA 003754 B, Op. at 4-5 (D.C. Super. Ct. Jan. 25, 2021) (holding that Clean Label Project

Foundation has standing under D.C. Code § 28-3905(k)(1)(D)); see also, Clean Label Project

Found. v. Panera, LLC, No. 2019 CA 001898 B, 2019 D.C. Super. LEXIS 14, at *6-8 (D.C.

Super. Ct. Oct. 11, 2019) (holding that Clean Label Project Foundation has standing, under D.C.

Code § 28-3905(k)(1)(D)(i) & (ii) as an adequate private attorney general representative with

“sufficient nexus to the interest involved of the consumer or class” to bring a deceptive


4
  As Judge Hiram E. Puig-Lugo of the D.C. Superior Court has also recently stated in a decision issued on January
25, 2021, also issued after the Plaintiff’s surreply period had passed in the present matter, involving Plaintiff CLP
against another prenatal vitamin maker, Nutraceutical Corporation, that a long, robust line of decisions from “the
D.C. Superior Court has found that non-profit groups that test the quality of products have constitutional standing, at
least at the pleading stage, to bring claims on behalf of consumers and the general public,” and conferring standing
to CLP. See Exhibit 3, Clean Label Project Found. v. Nutraceutical Corp., No. 2020 CA 003754 B, Op. at 4-5
(D.C. Super. Ct. Jan. 25, 2021) (finding that CLP has constitutional standing under D.C. Code § 28-3905(k)(1)(C) as
a testing organization, that the D.C. Counsel established that a "testing organization" is injured when a merchant
violates the organization's "right to truthful information about the goods or services it tests.", and citing to Spokeo,
Inc. v. Robbins, 136 S. Ct. 1540 (2016) and a host of other Superior Court cases as support in denying the defendant
prenatal vitamin maker’s motion to dismiss.) [hereinafter CLP v. Nutraceutical].
advertising lawsuit under the D.C. CPPA against Panera, explaining that CLP is a public interest

organization with the “mission goal, and work of protecting consumers through various efforts

including promoting accurate labeling of consumer goods [and] shows a sufficient nexus” to the

interest of the consumer or class); see also, Exhibit 4, Affidavit of Jaclyn Bowen, MPH, MS,

Executive Director of CLP ¶¶ 12-18 (attesting that “CLP’s lawsuit against Garden of Life was

not filed as a class action, nor is it intended to be one”, that CLP spent no more than $251.93 for

purchasing Defendant’s products for testing as a consumer, which amounts to seven (7) potential

violations under D.C. Code § 28-3905(k)(2), making CLP eligible for at most $10,500 in

potential statutory damages for the Products that CLP purchased individually, which is far short

of the $75,000 amount in controversy requirement for diversity jurisdiction under 28 U.S. Code

§ 1332(a), and attesting that CLP is not seeking statutory damages on behalf of the general

public); and see, 28 U.S. Code § 1447(c).

        Defendant vehemently argued that CLP could never meet the constitutional standing

requisite under the D.C. CPPA even if this case is remanded. See Def. Mem. at 11 n.4. This is

patently false as D.C. Superior Court has previously found that CLP has proper standing under

the D.C. CPPA in near-identically alleged complaints against other violators. See Ex. 3, Clean

Label Project Found. v. Nutraceutical Corp., No. 2020 CA 003754 B, Op. at 4-5 (D.C. Super.

Ct. Jan. 25, 2021); see also, Clean Label Project Found. v. Panera, LLC, No. 2019 CA 001898

B, 2019 D.C. Super. LEXIS 14, at *6-8 (D.C. Super. Ct. Oct. 11, 2019).

   I.      The Animal Legal Def. Fund. Decision Explained that the D.C. CPPA’s Standing
           Requirement Does Not Require a Showing of Injury-In-Fact and Modifies the
           Article III Standing Requirement, which Entitles CLP to Representational
           Standing Under D.C. Code § 28-3905(k)(1)(D)

        Defendant argued that Plaintiff’s Complaint does not sufficiently plead an “injury-in-

fact” to establish standing under Article III standing requirements, therefore the Court believed it
lacked subject matter jurisdiction and Plaintiff’s Complaint was dismissed. See CLP v. Garden

of Life, No. 20-3229 (RC), 2021 U.S. Dist. LEXIS 181649, at *10-16 (D.D.C. Sept. 23, 2021).

As there is no federal question, nor is there minimal diversity alleged in the complaint, this case

should be remanded as a matter of law back to D.C. Superior Court. See ¶¶ Compl. 36 n.9, 46,

135-141 (where no class action claim was alleged with a single plaintiff, the CLP, acting as

private attorney general and stating clearly that there is no diversity jurisdiction as the amount in

controversy does not exceed the federal standard); see also, Exhibit 4, Affidavit of Jaclyn

Bowen, MPH, MS, Executive Director of CLP ¶¶ 12-18 (attesting that CLP’s lawsuit against

Garden of Life was not filed as a class action, that it is not seeking damages on behalf of the

general public, and that CLP is eligible for at most $10,500 in potential statutory damages for the

Garden of Life Products that CLP purchased individually, which is far short of the $75,000

amount in controversy requirement for diversity jurisdiction). However, as the Defendant

disputes both in its Notice of Removal [ECF 1], alleging that the Plaintiff should be in federal

court under the Class Action Fairness Act and diversity jurisdiction, and this Court granted the

Defendant’s Motion to Dismiss based on standing under the D.C. CPPA, a statute of the District

of Columbia, we will hypothetically assume for the sake of discussing Animal Legal Def. Fund.,

the new controlling law, that this Court sits in diversity of this matter, and shall more thoroughly

discuss remand in Section IV, infra. See Animal Legal Def. Fund. at *2-17.

       Under Article III, federal courts have the power to hear: “Controversies . . . between

Citizens of different States.” U.S. CONST. art. III §2(1). This diversity provision enables federal

courts to hear lawsuits that present no federal questions but depends solely on state law. Under

the Erie doctrine, the federal courts, when confronted with the issue of whether to apply federal

or state law in a diversity lawsuit, must apply state law on issues of substantive law. “Except in
matters governed by the Federal Constitution or by Acts of Congress, the law to be applied in

any case is the law of the State. And whether the law of the State shall be declared by its

Legislature in a statute or by its highest court in a decision is not a matter of federal concern.”

See Erie R.R. v. Tompkins, 304 U.S. 64, 78 (1938). The court in Erie also found it is an

“unconstitutional assumption of power” by the federal court to invade state autonomy and

prevented “uniformity in the administration of the law of the State”. See id, 75 & 79. Therefore,

importantly, federal court cannot create a federal body of decisions interpreting state law that

diverges from the state law. See F. Andrew Hessick, Standing in Diversity, 65 Ala. L. Rev. 417,

423 (2013); see also, Erie at 72-73 (“in all matters except those in which some federal law is

controlling, the federal courts exercising jurisdiction in diversity of citizenship cases would

apply as their rules of decision the law of the state, unwritten as well as written”). If federal

standing involves an assessment of the merits of the plaintiff’s claim, the standing of the plaintiff

who invokes state law must depend on state law. See id.

       In light of the differences between federal and state standing doctrines, following federal

standing requirements in a diversity case may prevent a federal court from hearing a suit that the

state courts would allow. The Order Granting Defendant’s Motion to Dismiss erroneously

decided that Plaintiff lacks Article III standing under the D.C. CPPA without the benefit of the

recent decision of D.C.’s highest court in Animal Legal Def. Fund. v. Hormel Corp., where the

2012 amendment to D.C. CPPA revealed “the District of Columbia Council's intent to modify

traditional U.S. Const. art. III standing requirements” under D.C. Code § 28-3905(k)(1)(D), and

that unlike other state law, this 2012 D.C. amendment bears Article I constitutional force. See

Animal Legal Def. Fund. v. Hormel Foods Corp., No. 19-CV-0397, 2021 D.C. App. LEXIS 254,

at *12 (D.C. Sept. 2, 2021) (“The District of Columbia's local courts, ‘established by Congress
pursuant to Article I, are not [constitutionally] bound by the requirements of Article III.’ District

of Columbia v. Walters, 319 A.2d 332, 338 n.13 (D.C. 1974); see also Rotunda v. Marriott Int'l,

Inc., 123 A.3d 980, 987 (D.C. 2015); District of Columbia v. Grp. Ins. Admin., 633 A.2d 2, 12

(D.C. 1993). Our courts nonetheless generally follow Article III's guidance to adjudicate only

‘cases’ or ‘controversies’—as implemented via standing doctrine—albeit ‘for prudential

reasons.’ Fraternal Order of Police v. District of Columbia, 113 A.3d 195, 199 (D.C. 2015). We

do so in recognition of the sound judicial policy ‘that an adversary system can best adjudicate

real, not abstract, conflicts.’ Grayson, 15 A.3d at 233 (citation omitted). But that prudential

judgment is subject to legislative override, and nobody ‘questions the [D.C.] Council's authority

to remove prudential limits on standing.’ Id. at 259 (Ruiz, J., concurring in part and dissenting in

part).”). As discussed in Animal Legal Def. Fund, the limitations to bringing suit under D.C.

Code § 28-3905(k)(1)(D) “reveal the Council's intent to modify traditional Article III standing

requirements with the [] statutory test.” See id. The D.C. Court of Appeals found the 2012

amendment to D.C CPPA “evinces a plain legislative intent to account for core standing

concerns—i.e., ‘[w]hether a party has a sufficient stake in an otherwise justiciable controversy to

obtain judicial resolution,’ -- while modifying Article III's doctrinal requirements with a more

expansive statutory test.” See id, *12-13 (citing Sierra Club v. Morton, 405 U.S. 727, 731 (1972)

(citation omitted). The Court of Appeals further states:

       Two additional points make that intent particularly clear. First, (k)(1)(D) would
       be pointless if it incorporated Article III's restrictions. Recall that (k)(1)(C)
       already expressly empowers a nonprofit organization to bring suit on behalf of
       itself or its members, so that if (k)(1)(D) were likewise interpreted as
       incorporating that requirement, it would serve no independent function. . .
       Second, the legislative history—far from being silent as it was with the 2000
       amendments . . . makes the Council's intent to modify Article III requirements
       clear.

See id, *13-14.
        Moreover, Animal Legal Defense Fund. abrogates Grayson v. AT&T Corp., 15 A.3d 219,

232 (D.C. 2011) (en banc), also heavily relied upon by the Defendant in its Motion to Dismiss,

as only interpreting the older 2000 Amendments to the D.C. CPPA, and not the 2012

Amendments that expanded the standing requirement, explicitly modifying the Article III

standing requirements with regard to lawsuits brought under (k)(1)(D) with a statutory test. See

Animal Legal Defense Fund at *9-15 (“That Committee Report explains that subsection

(k)(1)(D) ‘responds most directly to Grayson and the Committee's desire’ to confer ‘maximum

standing’ to public interest organizations: Subparagraph (D) is intended to reach, for [public

service organizations], the full extent of standing as may be recognized by the District of

Columbia courts. This may include bases for standing that . . . the D.C. courts have not yet had

occasion to recognize . . . . Subparagraph (D) is intended to explicitly and unequivocally

authorize the court to find that a public interest organization has standing beyond what would be

afforded under sub-paragraphs (A)-(C), beyond what would be afforded under a narrow reading

of prior D.C. court decisions, and beyond what would be afforded in a federal case under a

narrow reading of prior federal court decisions on federal standing.”) (quoting Consumer

Protection Act of 2012, Report on Bill 19-0581, at 6 (Nov. 28, 2012)) [brackets and omissions in

original].

        Animal Legal Def. Fund. also found that the Consumer Protection Act of 2012, Report on

Bill 19-058 demonstrates that

        the Council intended public interest organizations bringing suit under (k)(1)(D) to
        be free from any requirement to demonstrate their own Article III standing. Any
        contrary conclusion would defeat the Council's "explicit[]" and "unequivocal[]"
        intent for (k)(1)(D) to confer standing "beyond" what is afforded under (k)(1)(C).
        It would likewise fall short of the Council's stated intention that (k)(1)(D) reach
        "the full extent of standing as may be recognized by the District of Columbia
       courts," where we have made clear that extent exceeds Article III's bounds where
       the Council so provides, as we conclude it did here.

See id, *15 (citing Consumer Protection Act of 2012, Report on Bill 19-0581, at 6 (Nov. 28,

2012) (citation omitted).

       Within the September 23, 2021 Order, this Court cited to federal cases that do not pertain

to the D.C. CPPA in supporting its ruling to deny CLP’s standing under (k)(1)(D), and two D.C.

CPPA Section (k)(1)(D) cases that were decided prior to Animal Legal Defense Fund., one of

which actually found standing upon facts similar to this case under Section (k)(1)(D). See CLP

v. Garden of Life, No. 20-3229 (RC), 2021 U.S. Dist. LEXIS 181649, at *10-16 (D.D.C. Sept.

23, 2021) (citing to Organic Consumers Ass'n v. Hain Celestial Grp., Inc., 285 F. Supp. 3d 100,

102-03 (D.D.C. 2018), finding injury in fact where plaintiff had to expend more resources on

programmatic efforts to counteract defendant's misinformation regarding synthetic ingredients in

food products, and compare with CLP, which similarly alleged that it not only ordered the

purchase and testing of the Defendant’s Products with an independent laboratory, advocated for

and educating consumer, but has retained the undersigned counsel to pursue this action, none of

which should be assumed, contrary to plain reading and common sense, were free of charge and

should qualify for standing under Section (k)(1)(D). See Compl. ¶¶ 135, 138.); Beyond

Pesticides v. Dr Pepper Snapple Grp., Inc., No. 17-cv-1431, 2019 U.S. Dist. LEXIS 109812, at

*1 (D.D.C. July 1, 2019) (predating Animal Legal Def. Fund. that was decided in September of

2021); and see, Mann v. Bahi, 251 F. Supp. 3d 112, 119 (D.D.C. 2017) (predating Animal Legal

Def. Fund., does not address (k)(1)(D) standing, and now incorrect that CPPA can go no further

than Article III requirements under D.C. law). Therefore, as the D.C. Council intends for D.C.

CPPA to broadly regulate unfair or deceptive trade practices in the District of Columbia and is so
authorized under Article I, the Article III standing requirement ought not to be applied in a way

that disables the D.C. CPPA. See Animal Legal Def. Fund at *7-24.

        Additionally, while D.C. courts generally follow Article III standing requirements, they

are not compelled to follow Article III as they were a unique congressional judicial creation

under Article I, and this entitles this Court to Article I powers, even if it is a federal district court

created under Article III when considering standing requirements under D.C. statutes. See

National Mut. Ins. Co. v. Tidewater Transfer Co., 337 U.S. 582, 591-92 (1949).

        It is too late to hold that judicial functions incidental to Art. I powers of Congress cannot
        be conferred on courts existing under Art. III, for it has been done with this Court's
        approval. O'Donoghue v. United States, 289 U.S. 516. In that case it was held that,
        although District of Columbia courts are Art. III courts, they can also exercise judicial
        power conferred by Congress pursuant to Art. I. The fact that District of Columbia courts,
        as local courts, can also be given administrative or legislative functions which other Art.
        III courts cannot exercise, does but emphasize the fact that, although the latter are limited
        to the exercise of judicial power, it may constitutionally be received from either Art. III
        or Art. I, and that congressional power over the District, flowing from Art. I, is plenary in
        every respect.

See id. In Tidewater, the Supreme Court explained that federal district courts only have

jurisdiction to adjudicate cases over suits involving debts to which the United States is a party in

limited amounts due to congressional authority under Article I, not Article III. See id. at 591-

594. Also, the federal district courts’ jurisdiction over bankruptcy cases, also created by the

plenary power of Congress under Article I with the same authority as that which created the D.C.

local courts, would otherwise be “beyond their jurisdiction because of lack of diversity required

under Art. III”. See id. at 591-594 (“Thus, the Court held that Congress had power to authorize

an Art. III court to entertain a non-Art. III suit because such judicial power was conferred under

Art. I. Indeed, the present Court has assumed, without even discussion, that Congress has such

power.”). Further, “[the] fact that District of Columbia courts, as local courts, can also be given

administrative or legislative functions which other Art. III courts cannot exercise, does but
emphasize the fact that, although the latter are limited to the exercise of judicial power, it may

constitutionally be received from either Art. III or Art. I, and that congressional power over the

District, flowing from Art. I, is plenary in every respect.” See id. at 592.

         In light of Animal Legal Defense Fund., where the D.C. Court of Appeals has

unequivocally articulated the representative standing criteria under Section (k)(1)(D) “to be free

from any requirement to demonstrate their own Article III standing”, this Court, under the Erie

Doctrine and Tidewater, is now empowered like the D.C. Court of Appeals to “exceed Article III

bounds where the Council so provides” conferred through Article I. See Animal Legal Def. Fund

at *15-16 (“That drafting history conforms to our view that the Council ultimately retained

Article III restrictions in (k)(1)(C) suits, supra note 5, but carved out the subset of nonprofits that

are public interest organizations as to whom those restrictions do not apply in (k)(1)(D).”); see

also, Erie, 304 U.S. at 78; and see Tidewater at 590-594 (“It long has been held that Congress

may clothe District of Columbia courts not only with the jurisdiction and powers of federal

courts in the several states but with such authority as a state may confer on her courts . . . .

However, it is contended that Congress may not combine this function, under Art. I, with those

under Art. III, in district courts of the United States . . . . It is too late to hold that judicial

functions incidental to Art. I powers of Congress cannot be conferred on courts existing under

Art. III, for it has been done with this Court's approval.”). This Court has the discretion to

expand beyond Article III requirements in considering D.C. CPPA cases seeking standing under

Section (k)(1)(D), and should do so in order to afford comity to D.C. local courts and under Erie.

See id.; Erie, 304 U.S. at 78.5


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  See also, Younger v. Harris, 401 U.S. 37, 44 (1971) (“that is, a proper respect for state functions, a recognition of
the fact that the entire country is made up of a Union of separate state governments, and a continuance of the belief
that the National Government will fare best if the States and their institutions are left free to perform their separate
functions in their separate ways. This, perhaps for lack of a better and clearer way to describe it, is referred to by
    II.      CLP Meets the Section (k)(1)(D) Statutory Test Under Animal Legal Defense
             Fund.

    The next question is whether Clean Label Project Foundation (CLP) meets the statutory test

under D.C. Code § 28-3905(k)(1)(D). It does. CLP should meet three elements in order to have

standing under D.C. Code § 28-3905(k)(1)(D): (1) it must be a public interest organization; (2) it

must identify "a consumer or a class of consumers" that could bring suit in their own right; and

(3) it must have a "sufficient nexus" to those consumers' interests "to adequately" represent them.

See Animal Legal Defense Fund. at *17-18; D.C. Code § 28-3905(k)(1)(D)(i)&(ii).

    In Animal Legal Defense Fund., plaintiff ALDF neither purchased and tested any products,

nor did it allege that it suffered any “concrete harm”, was “perceptibly impaired in its ability to

carry out its activities or provide services in some manner” (as this Court’s Order required), and

only alleged generalized grievance against Hormel’s inhumane treatment and slaughter of its

meat animals contrary to its “100% natural” marketing campaign to D.C. consumers. See

Animal Legal Def. Fund. at *17-21, 25-26 (finding that the public interest organization met

standing requirements when the “complaint's allegations in this case substantiated each of the

three critical components of (k)(1)(D) standing: (1) that it is a public interest organization

organized and operating, in part, to advance consumer interests; (2) that it has a sufficient nexus

to those consumers' interests to adequately represent them; and (3) that there is a class of D.C.



many as "Our Federalism," and one familiar with the profound debates that ushered our Federal Constitution into
existence is bound to respect those who remain loyal to the ideals and dreams of "Our Federalism." The concept
does not mean blind deference to "States' Rights" any more than it means centralization of control over every
important issue in our National Government and its courts. The Framers rejected both these courses. What the
concept does represent is a system in which there is sensitivity to the legitimate interests of both State and National
Governments, and in which the National Government, anxious though it may be to vindicate and protect federal
rights and federal interests, always endeavors to do so in ways that will not unduly interfere with the legitimate
activities of the States.”). The D.C. government has an important and legitimate interest that it has sought to
preserve for more than twenty (20) years, protecting its consumers’ interests that deserves this Court’s comity,
specifically in this case to protect vulnerable pregnant women and fetuses from unknowingly purchasing and
exposure to Defendant’s prenatal vitamin products containing toxins that are marketed as healthy, clean, and
nourishing.
consumers who eat meat and were targeted by Hormel's Natural Choice ads (and further

substantiating its view that they were likely to be misled by claims like ‘100% natural’”);

contrast with, CLP v. Garden of Life, 2021 U.S. Dist. LEXIS 181649, at *10-16.

       Similar to the Animal Legal Defense Foundation, CLP is a well-known national non-

profit 501(c)(3), public interest organization whose mission is to educate the public and enable

consumers to make informed shopping choices in food and other consumer products. See

Compl. ¶¶ 37-41. As well-pleaded in the complaint, “CLP was formed in 2016 with the goal of

reducing contamination across all consumer-packaged goods products . . ., [and] uses state-of-

the-art laboratory testing to identify the best and worst labeled Products and publishes top and

bottom performers on its website free of charge. CLP has an interest in food label truth,

transparency, and consumers' right to know what is in the products they purchase. To that end,

CLP educates consumers by presenting unbiased science in a straight-forward and useful

medium to the public, allowing consumers to make data-based decisions.” See Compl. ¶¶ 39-41;

compare with, Animal Legal Def. Fund. at *17-21, 25-26 (qualifying for the first statutory

requirement under (k)(1)(D), where “ALDF is a public interest organization, i.e., a nonprofit

‘organized and operating,’ at least in part, ‘for the purpose of promoting interests or rights of

consumers,’ § 28-3901(a)(15). While ALDF's primary mission is to ‘protect the lives and

advance the interest of animals,’ providing consumers with accurate information about how their

meat is sourced is one of its subsidiary purposes.”).

       For the second statutory requirement, of identifying "a consumer or a class of consumers"

that could bring suit in their own right, CLP identified the class of consumers it seeks to

represent as D.C. consumers who are targeted and have been or will be misled, by Garden of

Life’s ads, or simply, pregnant women who are induced to purchase the Products due to the
Defendant’s ads, and unknowingly ingest lead, cadmium, mercury, BPA, and pesticides. See

Compl. ¶¶ 21, 25-33, 89-100, 112-41 (stating that CLP tested the Defendant’s Products, which

contained heavy metals, pesticides, and BPA, and that D.C. consumers, primarily an at-risk

population of pregnant women with developing fetuses, are enticed to purchase these Products

over the Defendant’s competitors on the basis of its false marketing claims that its vitamins are

clean, healthy, better than others, and nourishing, and do no expect the Defendant’s Products to

contain heavy metals and other toxins, and that CLP brings this deceptive advertising cause on

behalf of itself and the general public of D.C. consumers at risk of Defendant’s misleading

marketing practices, seeking injunctive relief on behalf such D.C. consumers); see also, Animal

Legal Def. Fund. at *19-20 (finding that “ALDF adequately identifies the class of consumers it

seeks to represent as D.C. consumers who are targeted, and have been or will be misled, by

Hormel's Natural Choice ads”).

       Third, CLP has a sufficient nexus to the group of consumers it identified and has a

sufficient stake in the action to “pursue it with requisite zeal and concreteness.” See, Animal

Legal Def. Fund. at *21 (finding that ALDF had met this third statutory requirement as it “has

long sought to ensure that meat-eating consumers have ‘accurate information about factory

farming conditions and practices’ so they can make more informed decisions about meat

consumption, . . . designed to promote consumers' interest in ‘truth in meat and poultry

advertising.’”). Neither the Court nor the Defendant questioned CLP’s “aptitude or zeal” in

prosecuting this suit, or denied that CLP’s mission is food label truth and transparency so that

consumers can make informed shopping choices and does substantial work in the field of

consumer protection. See Animal Legal Def. Fund. at *21; see also, CLP v. Garden of Life, 2021

U.S. Dist. LEXIS 181649, at *10-16; and see Compl. ¶¶ 37-41. CLP pleaded in the complaint
that it conducted extensive testing of the Defendant’s products, that it was “founded with the

purpose of advocating for and educating consumers, including consumers in the District of

Columbia, in the arena of clean and healthy food and ecological systems. Plaintiff’s mission is to

bring truth and transparency to food and consumer products labeling. In addition, Plaintiff has

retained the undersigned competent counsel, to pursue this action, and Plaintiffs have previously

represented District consumers in similar actions under the CPPA.” See Compl. ¶¶ 25, 37-47,

100-111, 138-39; see also, Exhibit. 4, Affidavit of Jaclyn Bowen ¶¶ 3-15. There is a direct

nexus between CLP’s work in food label truth, transparency, clean and healthy food, educating

the public to enable consumers to make informed shipping choices through scientific data, and

ensuring that Garden of Life does not mislead pregnant consumers with its false “clean” and

“healthy” marketing campaign, and induce them to purchase prenatal vitamins containing

various toxins. See Animal Legal Def. Fund. at *21.

          If this Court denies the defendant’s motion to dismiss and grants the Plaintiff

representative standing to sue under D.C. Code § 28-3905(k)(1)(D), pursuant to Animal Legal

Def. Fund., then the Plaintiff shall next briefly address defendant’s First Amendment and

primary jurisdiction arguments. See Animal Legal Def. Fund. at *7-21.

   III.      First Amendment Arguments Are Premature on a 12(b)(6) Motion

   While the Court did not reach the Defendant’s arguments outside of standing and subject

matter jurisdiction under Fed. R. Civ. P. 12(b)(1), if this Court decides to grant CLP standing in

this case on reconsideration, it is important to note that on a 12(b)(6) motion to dismiss, the

pleading standard articulated by the Supreme Court in Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009) should control. A motion to dismiss should be

denied where the complaint contains “sufficient factual matter, accepted as true, to ‘state a
complain to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550

U.S. at 570). A claim is considered plausible on its face “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Though a mere “formulaic recitation of the elements of a cause of action

will not do,” “plausibility” is far from “probability.” Id. Indeed, “a well-pleaded complaint may

proceed even if it strikes a savvy judge that actual proof of those facts is improbable, and that a

recovery is very remote and unlikely.” Twombly, 550 U.S. at 566 (internal quotation marks

omitted).

       CLP’s allegations that the Defendant’s marketing of the Products is false and misleading,

with specific identification in the complaint of those very advertising touting “clean”, “healthy”,

and “nourishing”, etc. on the Products’ packaging, on the Defendant’s website marketing those

Products, and on retailers’ websites promoting the sale of the Products provided by the

Defendants, contrasted against the scientific tests performed that showed the various levels of

heavy metals, pesticides and BPA found by an independent certified analytical laboratory, is

sufficient, at this stage to support false advertising and state a valid claim under the D.C. CPPA.

See Exhibit 1, Compl. ¶¶8, 21, 88-90, 92-94, 100-120. The Defendant can certainly make a First

Amendment free speech argument at the summary judgment stage, but it is for now premature,

as Plaintiff’s allegations of the Defendant’s false advertising and misleading marketing

campaign, sufficiently pleaded, is taken as true at this juncture. See Iqbal, 556 U.S. at 678.

       Similar to the Defendant in Organic Consumers Ass'n v. Smithfield Foods, Inc.,

Defendant Garden of Life argues that applying the D.C. CPPA would violate the First

Amendment because the commercial speech that Plaintiff challenges is grounded in legitimate

scientific evidence and facts. See Def. Mot. at 12-13; See also Organic Consumers Ass'n v.
Smithfield Foods, Inc., 2020 D.C. Super. LEXIS 28 (D.C. Super. Ct. Dec. 14, 2020). But

commercial speech is only protected if it is not misleading. See Central Hudson Gas & Elec.

Corp. v. Public Serv. Comm'n, 447 U.S. 557, 566, 100 S. Ct. 2343, 65 L. Ed. 2d 341 (1980); see

also in Re Banks, 805 A.2d 990, 1001 (D.C. 2002) (finding that appellant "had no First

Amendment right to engage in commercial speech calculated to deceive or mislead prospective

clients by misrepresenting his qualifications"). "[F]alse statements, erroneous statements, or

statements that have the likelihood or tendency to deceive . . . are not entitled to protection in the

first place." See Ass'n of Private Sector Colleges & Univs. v. Duncan, 681 F.3d 427, 457 (D.C.

Cir. 2012). Even commercial speech that "is only potentially misleading" may be regulated

without violating the First Amendment, if "the asserted governmental interest in regulating the

speech is substantial." See Alliance for Natural Health U.S. v. Sebelius, 786 F. Supp. 2d 1, 13

(D.D.C. 2011). Here, Plaintiff's allegations that Defendant's misleading statements and

advertising practices regarding their Products violate the CPPA do not raise any First

Amendment concern. The First Amendment affords no protection for statements that are

misleading and deceptive, as alleged in the complaint. See Organic Consumers Ass'n v.

Smithfield Foods, Inc., 2020 D.C. Super. LEXIS 28, at 13-14. See Iqbal, 556 U.S. at 678.


   Under the D.C. CPPA, "a claim 'of an unfair trade practice is properly considered in terms of

how the practice would be viewed and understood by a reasonable consumer."' See Whiting v.

AARP, 637 F.3d 355, 363-64 (D.C. Cir. 2011) (quoting Pearson v. Sao Chung, 961 A.2d 1067,

1075 (D.C. 2008)). A court may "appropriately grant a motion to dismiss on a deceptive practice

claim if no reasonable person would be ... deceived." Whiting, 637 F.3d at 364.
   Defendant labels and advertises prenatal vitamin products as “clean” and “healthy” prenatal

vitamin products derived from natural sources. Defendants also presents their products as

healthy, beneficial and capable of supporting brain development in developing babies, as well as

promoting the emotional well-being of mothers and enhancing the quality of their breast milk.

See Compl. ¶93-94. Defendant’s labeling and advertising mislead reasonable consumers who

may be induced to purchase Defendant’s Products as they do not expect a product labeled as

“clean” would contain toxins harmful to their developing babies that could impair their

neurological development. See id. at 98 & 123. Therefore, Defendant’s arguments based on First

Amendment must fail under Fed. R. C. P 12(b)(6).


   IV.      Primary Jurisdiction Doctrine Does Not Apply and This Court Will Not Be
            Supplanting the FDA or EPA in Adjudicating the Plaintiff’s Claims Under the
            D.C. CPPA

         Defendant argues that CLP’s deceptive marketing claims brought under the D.C. CPPA

are preempted by FDA and EPA regulations. See Def. Mot. at 17. Contrary to the Defendant’s

assertions, no federal law or federal law element could be found in CLP’s complaint.

Defendant’s argument involving the EPA’s recommendation that the daily consumption of

mercury should be limited to 1 part per billion per kilogram of body weight per day, and that

seafood containing 15 parts per million of mercury as “Best Choice” suggested by EPA that can

be consumed up to three times per week during pregnancy, is the perfect example to showcase

why this case has nothing to do with federal regulations or primary jurisdiction and is actionable

under the D.C. CPPA. See Def. Mot. at 19-20. Plaintiff CLP found the presence of mercury in

the Defendant’s touted “clean”, “healthy” and beneficial prenatal vitamins to contain 23 parts per

billion or lower of mercury per serving in its various Products targeting pregnant women. See

Compl. ¶¶ 8, 21, 88-90, 92-94, 100-120. The Court is asked to decide whether a pregnant
mother, who may have already consumed the weekly recommended seafood containing mercury,

or eats no seafood whatsoever so she and her fetus (weighing less than 1 kilogram for much of

the pregnancy) can choose to avoid any harmful effects from the consumption of any mercury,

might be deceived by the Defendant’s advertising and unknowingly purchase and consume

Defendant’s purportedly “clean” prenatal vitamins that actually contain 23 ppb of mercury per

serving, and whether such trade practices violate the D.C. CPPA. This has nothing to do with

either the EPA or the FDA’s primary jurisdiction.

       Recently, the D.C. Superior Court has held in the motion to dismiss context, in a lawsuit

also brought by Plaintiff CLP against defendant Panera, LLC, with similar preemption arguments

forwarded by the Defendant based on federal regulation institutions. Panera referred to the Food

Drug and Cosmetic Act (“FDCA”) and the Nutrition Labeling and Education Act (“NLEA”).

However, references to any regulation are misplaced, even where regulatory guidelines allowed a

tolerance level of the contaminant, glyphosate, to be higher than what was detected in Panera’s

tested product, and where the Plaintiff’s claims were potentially inconsistent with federal laws.

The Superior Court stated:

       Panera confuses the core issue of this case. Plaintiffs are not alleging that it is
       unacceptable to have any trace amount of glyphosate in the food products, but are
       rather contending that the presence of glyphosate, pesticides, or fungicides
       contradicts what a reasonable consumer would consider as "clean" or "100% clean"
       food. Compl. ¶ 61. An interpretation of "clean" in food labeling would not directly
       or indirectly contravene the FDCA and NLEA's regulations of safe levels of
       glyphosate. While Panera may use these regulations and standards as a basis for
       whether a certain level of glyphosate residue in foods is safe, this does not preempt
       the claim overall as Plaintiffs are challenging the use of the word "clean" in
       reference to food that contains the chemical substances. Accordingly, Panera's
       claim that Plaintiffs' allegations are precluded by federal law is without merit.

   See Clean Label Project Found. v. Panera, LLC, No. 2019 CA 001898 B, 2019 D.C. Super.

LEXIS 14, at *12-13 (D.C. Super. Ct. Oct. 11, 2019) (denying motion to dismiss). Similarly, the
Plaintiff is challenging the Products under the D.C. CPPA to determine whether the presence of

toxins in the Products contradicts what a reasonable consumer would consider as “clean”,

“healthy” and beneficial to pregnant moms and fetuses, and thus state a valid, actionable claim.

See Compl. ¶¶ 88-137; see also Clean Label Project Found., 2019 D.C. Super. LEXIS 14, at

*12-13.

   V.      A Word On Spokeo, Inc. v. Robbins, 136 S. Ct. 1540 (2016) as an Error of Law

           in Light of Animal Legal Def. Fund.

        Both the Defendant and this Court cites to Spokeo, Inc. v. Robbins, 136 S. Ct. 1540

(2016) to support that “Article III standing requires a concrete injury even in the context of a

statutory violation.” See Def. Mot. at 11; see also, CLP v. Garden of Life, 2021 U.S. Dist. LEXIS

181649, at *7-15. Defendant also claims Plaintiff “must still show evidence of an injury that

“affect[ed] the plaintiff in a personal and individual way.” See id. As detailed above, Animal

Legal Def. Fund. has completely removed the traditional Article III, injury-in-fact requirement

from qualifying for standing under Section (k)(1)(D). See Animal Legal Def. Fund. at *10-17.

Additionally, Spokeo stated that if a statute violation automatically implies a concrete harm or

material risk of concrete harm, even one that is “difficult to prove or measure”, a plaintiff does

not need to identify “any additional harm” beyond the statutory violation. See Spokeo, 136 S. Ct.

at 1549-50. Plaintiff has alleged that Defendant’s merchant violations induce pregnant women to

purchase the Products and unknowingly ingest toxins which are harmful to their unborn children.

        Furthermore, Plaintiff has a statutory right to bring a D.C. CPPA action due to their status

as a public interest organization. See Animal Legal Def. Fund. at *10-17. The deprivation of that

right constitutes an injury-in-fact that is sufficient to establish standing, even though Plaintiffs

may not have suffered a judicially cognizable injury in the absence of the statute. See Shaw v.
Marriott Int 'l, Inc., 605 F.3d 1039, 1042 (D.D.C. 2010). “("[T]he deprivation of the CPPA

statutory right to be free from improper trade practices may constitute an injury-in-fact sufficient

to establish standing, even though the plaintiff would have suffered no judicially cognizable

injury in the absence of the statute." See Toxin Free USA v. JM Smucker Co., No. 2019 CA 3192

B, 2019 D.C. Super. LEXIS 15, at *6 (D.C. Super. Ct. Nov. 6, 2019).

   VI.      If this Court Declines to Exercise Jurisdiction Over this Matter, We Ask That
            This Case Be Remanded to D.C. Superior Court

         If this Court declines to exercise federal subject matter jurisdiction over this case, even in

light of Animal Legal Def. Fund.’s liberal standing requirement under Section (k)(1)(D), then

Plaintiff requests that this case be remand to the Superior Court of the District of Columbia. See

Republic of Venezuela v. Philip Morris Inc., 287 F.3d 192, 196 (D.C. Cir. 2002) (citing 28

U.S.C. § 1447(c)); see also Randolph v. Ing Life Ins. & Annuity Co., 486 F. Supp. 2d 1, 10-11

(D.D.C. 2007) (“When it appears that a district court lacks subject matter jurisdiction over a case

that has been removed from a state court, the district court must remand the case."); see also Blue

v. Fremont Inv. & Loan, 584 F. Supp. 2d 10, 11-12 (D.D.C. 2008); 28 U.S. Code § 1447(c) (lack

of subject matter jurisdiction). Although Defendant may argue against a remand by claiming it

would be a "futile waste of judicial resources," the “futility exception” this argument has been

“rejected by the Third, Fourth, Seventh, and Tenth Circuits, nor have the First and Second

Circuits adopted a futility exception when given the opportunity to do so, and the Supreme

Court, in dicta, has expressed a reluctance to recognize a futility exception.” See Randolph, 486

F. Supp. 2d at 11.

         Also, in terms of affording comity to the D.C. local courts, "a remand may best promote

the values of economy, convenience, fairness, and comity. Both litigants and states have an

interest in the prompt and efficient resolution of controversies based on state law." Carnegie-
Mellon Univ. v. Cohill, 484 U.S. 343, 350 n.7 (1988). Here, if this Court determines that the

D.C. CPPA standing requirement gap between the federal district courts and the D.C. Circuit

Court of Appeal’s decision in Animal Legal Def. Fund. is just too great to bridge, then the

Plaintiff requests that this case be remanded so that it and the D.C. Council can properly fulfill

legitimate interests in preventing harm to pregnant consumers caused by Defendant’s deceptive

trade practices. See Animal Legal Def. Fund. at *12-17 (“This report demonstrates that the

Council intended public interest organizations bringing suit under (k)(1)(D) to be free from any

requirement to demonstrate their own Article III standing . . . . Unlike in Grayson, we hold that

intent is now sufficiently explicit.”); see also, Erie at 72-73, 78.

    [I]n the usual case in which all federal-law claims are dismissed before trial, the
    balance of factors to be considered under the pendent jurisdiction doctrine—judicial
    economy, convenience, fairness, and comity—will point toward declining to exercise
    jurisdiction over the remaining state-law claims." Shekoyan v. Sibley Int'l, 409 F.3d
    414, 424 (D.C. Cir. 2005). Given the potential that some novel issues of local law
    may be raised in the wake of In re G.K., 993 A.2d 558 (D.C. 2010), comity and
    judicial economy weigh in favor of remand, and there is no reason to depart from this
    typical course here. Accordingly, the Court will remand the remaining claims to the
    District of Columbia Superior Court.

Jordan v. District of Columbia, 161 F. Supp. 3d 45, 50 (D.D.C. 2016).

        Plaintiff herewith include a case chart that summarizes the most relevant cases supporting

the finding of standing in cases similar to ours, both at the D.C. courts and federal district court

level that echoes the recent decision in Animal Legal Def. Fund., in order to show that this matter

is actionable, and should this Court decides to deny CLP standing once again, that this matter

ought to be remanded and permitted to proceed in D.C. Superior Court:
Case Name                          Court                Summary                           Relevant Holding
Animal Legal Def. Fund v.          District of          Animal welfare organization       The DC CPPA§ 28-3901 et
Hormel Foods Corp., 2021 D.C.      Columbia Court       sued Hormel Foods because of      seq., confers standing
App. LEXIS 254 (D.C. Sept. 2,      of Appeals           the products they had             upon public interest
2021).                                                  mislabelled as “natural”, when    organizations bringing suit on
                                                        the products had been             behalf of the interests of a
                                                        inhumanely and unnaturally        consumer or a class of
                                                        sourced from factory-farmed       consumers, so long as they
                                                        animals.                          have a sufficient nexus to
                                                                                          adequately represent those
                                                                                          interests. D.C. Code § 28-
                                                                                          3905(k)(1)(D), this recent
                                                                                          addition to the CPPA conveys
                                                                                          a clear legislative intent to
                                                                                          modify U.S. Const. art. III's
                                                                                          strictures with a statutory test
                                                                                          governing public interest
                                                                                          organizations' standing to
                                                                                          bring a CPPA claim.


Spokeo, Inc. v. Robbins, 136 S.    Supreme Court        Individual sued an internet       If a statute violation
Ct. 1540 (2016).                   of the United        service which had published       automatically implies a
                                   States               false information about him.      concrete harm or material risk
                                                                                          of concrete harm, even one
                                                                                          that is “difficult to prove or
                                                                                          measure”, a plaintiff does not
                                                                                          need to identify “any
                                                                                          additional harm” beyond the
                                                                                          statutory violation.
Beyond Pesticides v. Monsanto      United States        Public interest organization      Plaintiff successfully claimed
Co., 311 F. Supp. 3d 82 (D.D.C.    District Court for   sued a pesticide manufacturer     an injury-in-fact after simply
2018).                             the District of      for their mislabelled products,   alleging that Defendant’s
                                   Columbia             which falsely claimed a           statements about their
                                                        harmful toxin found in their      products were false or
                                                        products was not found in         misleading.
                                                        humans or pets.
Organic Consumers Ass'n v.         Superior Court of    Three non-profit organizations    Non-profit organization that
General Mills, Inc., 2017 D.C.     the District of      brought suit against the          purchased products for testing
Super. LEXIS 4 (D.C. Super. Ct.    Columbia, Civil      Defendant food manufacturer,      purposes had standing to
July 6, 2017).                     Division             claiming that Defendant           allege that defendant violated
                                                        misleads consumers by             DC CPPA
                                                        marketing of some of its
                                                        products as natural
                                                        when in fact they contained
                                                        detectable quantities of
                                                        a chemical agent.
Organic Consumers Ass'n v.         Superior Court of    Public interest organization      Non-profit organization that
Bigelow Tea Co., 2018 D.C.         the District of      sued against Defendants for       purchased products for testing
Super. LEXIS 11 (D.C. Super. Ct.   Columbia, Civil      making false or misleading        purposes had standing to
Oct.31, 2018).                     Division             statements about their Products   allege that defendant violated
                                                        which contained harmful toxins    DC CPPA
                                                        Consumers were unaware of.
Toxin Free USA v. JM Smucker       Superior Court of    Public interest organization      Non-profit organization that
Co., 2019 D.C. Super. LEXIS 15     the District of      sued against Defendants for       purchased products for testing
(D.C. Super. Ct. Nov. 6, 2019).    Columbia, Civil      making false or misleading        purposes had standing to
                                   Division             statements about their Products   allege that defendant violated
                                                        which contained harmful toxins    DC CPPA
                                                        Consumers were unaware of.
Nat'l Consumers League v.          Superior Court of    Public interest organization      Non-profit organization that
Gerber Prods. Co., 2015 D.C.       the District of      sued against Defendants for       purchased products for testing
Super. LEXIS 10 (D.C. Super. Ct.   Columbia, Civil     making false or misleading        purposes had standing to
August 5, 2015.                    Division            statements about their Products   allege that defendant violated
                                                       which contained harmful toxins    DC CPPA
                                                       Consumers were unaware of.
GMO Free USA v. Nestle Purina      Superior Court of   Public interest organization      Plaintiff met Article III
Petcare Co., 2021 D.C. Super.      the District of     sued against Defendants for       requirements by being a public
LEXIS 8 (D.C. Super. Ct. Apr. 6,   Columbia, Civil     making false or misleading        interest organization who
2021).                             Division            statements about their Products   purchased the products of the
                                                       which contained harmful toxins    Defendant, thereby expending
                                                       Consumers were unaware of.        their own resources. Court
                                                                                         determined this expenditure
                                                                                         showed Defendant’s conduct
                                                                                         had "perceptibly impaired"
                                                                                         Plaintiffs' mission to educate
                                                                                         the public about the dangers of
                                                                                         artificial substances in
                                                                                         consumer products.
Children's Health Def. v. Beech-   Superior Court of   Public interest organization      Non-profit organization that
Nut Nutrition Co., 2020 D.C.       the District of     sued against Defendants for       purchased products for testing
Super. LEXIS 3 (D.C. Super. Ct.    Columbia, Civil     making false or misleading        purposes had standing to
Apr. 8, 2020).                     Division            statements about their Products   allege that defendant violated
                                                       which contained harmful toxins    DC CPPA
                                                       Consumers were unaware of.
Nat'l Consumers League v. Bimbo    Superior Court of   Public interest organization      Non-profit organization that
Bakeries USA, 2015 D.C. Super.     the District of     sued against Defendants for       purchased products for testing
LEXIS 5 (D.C. Super. Ct. Apr. 2,   Columbia, Civil     making false or misleading        purposes had standing to
2015).                             Division            statements about their Products   allege that defendant violated
                                                       which contained harmful toxins    DC CPPA
                                                       consumers were unaware of.
Clean Label Project Found. v.      Superior Court of   Public interest organization      Court found standing, and
Panera, LLC, 2019 D.C. Super.      the District of     sued against Defendants for       determined there was no
LEXIS 14 (D.C. Super. Ct.          Columbia, Civil     making false or misleading        federal question in Plaintiff’s
October 11, 2019).                 Division            statements about their products   Complaint that would invoke
                                                       which contained harmful toxins    Primary Jurisdiction Doctrine
                                                       consumers were unaware of.        as they were not being asked
                                                                                         to determine if toxin levels in
                                                                                         Defendant’s Products were
                                                                                         acceptable, rather, they were
                                                                                         simply being asked to
                                                                                         determine if a reasonable
                                                                                         consumer could be misled by
                                                                                         Defendant’s false statements
                                                                                         about their Products.

                                                       CONCLUSION

                For all the foregoing reasons, Plaintiff CLP respectfully requests the Court to reconsider

       its Order regarding Defendant’s Motion to Dismiss, or in the alternative, remand this matter.

                                               Oral Hearing Requested

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2021, a copy of Plaintiff’s Motion For

Reconsideration of the Order Of Dismissal, Or In The Alternative, Remand To D.C. Superior

Court, Memorandum in Support, and Exhibits, were filed electronically with the Clerk of the

Court and served on all counsel of record and interested parties via ECF:


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